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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
        v.                                    :       Criminal No. 21-mj-245
                                              :
PHILIP S. GRILLO,                             :
                                              :
                        Defendant.            :

 JOINT MOTION TO CONTINUE NOVEMBER 26, 2021 STATUS HEARING AND TO
            EXCLUDE TIME UNDER THE SPEEDY TRIAL ACT

        The United States, by and through its attorney, the United States Attorney for the District

of Columbia, and Defendant Grillo hereby jointly move to continue the November 26, 2021, status

hearing scheduled for 3:00 p.m. before Magistrate Judge Meriweather. In support of the motion,

the parties state as follows:

        1.      On September 21, 2021, the government filed United States’ Unopposed Motion to

Continue September 27, 2021 Status Hearing and to Exclude Time Under the Speedy Trial Act

(ECF No. 21). In that motion, the parties proposed a next date of December 2, 2021, to the extent

the Court was amenable to that date.

        2.      On September 24, 2021, the Court granted the government’s motion and scheduled

the next status hearing for November 26, 2021 (ECF No. 22). Government counsel will be on

annual leave and out of the jurisdiction on November 26, 2021. That date is also considered a

court holiday in defense counsel’s home jurisdiction.

        3.      Accordingly, the parties request a short continuance to a date on which both counsel

will be available. The parties remain available for a status hearing on December 2, 2021. The

parties are also available to have the hearing December 6-9, 2021, to the extent the Court is

available.
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         4.     The government respectfully requests to incorporate into this motion the argument

made in its recent motion (ECF No. 21) as to why an ends-of-justice tolling of the Speedy Trial

Act is warranted.

         5.     Furthermore, Defendant Grillo has been advised of his rights under the Speedy Trial

Act and agrees to exclude from the Speedy Trial Act calculation November 26, 2021, until the

next status hearing date. The parties agree that setting this future date would best serve the

interests and ends of justice and outweighs the interests of the public and the defendant in a speedy

trial.

         WHEREFORE, for the reasons described above, the parties respectfully request that the

Court grant this motion to continue the status hearing set for November 26, 2021 and exclude the

time within which an indictment must be filed and the trial must commence under the Speedy Trial

Act, 18 U.S.C. § 3161 et seq.

                                              Respectfully submitted,

                                              CHANNING D. PHILLIPS
                                              Acting United States Attorney
                                              DC Bar No. 415793

                                      By:      /s/ Christine M. Macey
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                                               /s/ Michael P. Padden
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